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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )        CRIMINAL ACTION NO.
        v.                           )          2:17cr221-MHT
                                     )               (WO)
BRANDON ANTHONY JOHNSON              )

                           OPINION AND ORDER

      This cause is before the court on defendant Brandon

Anthony Johnson’s motion to continue.                  For the reasons

set forth below, the court finds that jury selection

and    trial,     now    set   for   March    12,    2018,    should      be

continued pursuant to 18 U.S.C. § 3161(h)(7).

      While the granting of a continuance is left to the

sound discretion of the trial judge, see United States

v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the

court     is   limited    by   the    requirements      of   the   Speedy

Trial Act, 18 U.S.C. § 3161.             The Act provides in part:

             “In any case in which a plea of not
             guilty is entered, the trial of a
             defendant charged in an information or
             indictment with the commission of an
             offense shall commence within seventy
             days from the filing date (and making
             public)   of    the   information   or
             indictment, or from the date the
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          defendant   has   appeared  before   a
          judicial officer of the court in which
          such charge is pending, whichever date
          last occurs.”

§ 3161(c)(1).       The Act excludes from the 70-day period

any continuance based on “findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”       §     3161(h)(7)(A).               In    granting    such     a

continuance,       the    court         may     consider,    among    other

factors, whether the failure to grant the continuance

would     “result        in        a     miscarriage        of    justice,”

§ 3161(h)(7)(B)(i),           or       “would   deny   counsel     for    the

defendant ... reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence.”       § 3161(h)(7)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Johnson in a speedy trial.

As the motion states, Johnson has sought a transfer of

his case to the Central District of California pursuant

to Rule 20 of the Federal Rules of Criminal Procedure.

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The parties are cooperating in the transfer, although

the    process     will     apparently      not    be    complete     by   the

current      March     12    trial     date.         A    continuance       is

warranted      and    necessary       to    allow        counsel    for    the

parties      to    finalize        transfer    of       the   case.        The

government does not object to a continuance.

                                     ***

      Accordingly, it is ORDERED as follows:

      (1) Defendant Brandon Anthony Johnson’s motion to

continue (doc. no. 106) is granted.

      (2) The jury selection and trial, now set for March

12, 2018, are reset for May 21, 2018, at 10:00 a.m., in

Courtroom      2FMJ    of    the    Frank     M.    Johnson    Jr.    United

States       Courthouse        Complex,        One        Church      Street,

Montgomery, Alabama.

      DONE, this the 8th day of March, 2018.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
